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                     6    d/b/a Bulldog Cases
                     7

                     8                         UNITED STATES DISTRICT COURT
                     9                        CENTRAL DISTRICT OF CALIFORNIA
                  10                                     WESTERN DIVISION
                  11      GUNVAULT, INC.,                        Case No. EDCV 12-01459 JAK (RZ)
                  12                        Plaintiff            [PROPOSED[ ORDER
                                                                 GRANTING DEFENDANT
                  13                  vs.                        WINTRODE ENTERPRISES,
                                                                 INC.’S EXPARTE MOTION TO
                  14      WINTRODE ENTERPRISES,                  EXTEND PAGE LIMITS FOR
                          INC. d/b/a BULLDOG CASES,              ITS REPLY TO PLAINTIFF
                  15                                             GUNVAULT’S OPPOSITION TO
                                            Defendant.           MOTION FOR SUMMARY
                  16                                             JUDGMENT
                  17                                             Judge: Hon. John A. Kronstadt
                  18
                          WINTRODE ENTERPRISES,
                  19      INC. d/b/a BULLDOG CASES,

                  20                        Counter-Claimant

                  21                  vs.

                  22      GUNVAULT, INC.
                                       Counter-Defendant.
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                                                                                [Proposed] Order Granting
owens tarabichi llp
  C ounselor s A t L aw                                                        Exparte Mot. re Page Limits
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                     1          After full consideration of the moving and opposition papers, and good cause
                     2    appearing therefor, Defendant Wintrode Enterprises Inc.’s Exparte Motion to
                     3    Extend Page Limits for Its Reply to Plaintiff GunVault’s Opposition to Motion for
                     4    Summary Judgment is GRANTED as follows:
                     5

                     6          Defendant Wintrode Enterprises, Inc. shall be permitted to file its Reply to
                     7    Plaintiff GunVault’s Opposition to Motion for Summary Judgment with a page
                     8    limit of 20 pages. Exhibit A to Defendant Wintrode Enterprises Inc.’s Exparte
                     9    Motion is hereby entered as its Reply to Plaintiff GunVault’s Opposition to Motion
                  10      for Summary Judgment.
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                  12            IT IS SO ORDERED.
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                             Date:                                      By:
                  15                                                    Hon. John A. Kronstadt
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                                                                   1                   [Proposed] Order Granting
owens tarabichi llp
  C ounselor s A t L aw                                                               Exparte Mot. re Page Limits
